    Case 4:19-cv-00550-MWB-LT Document 19 Filed 10/05/21 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGEL LUIS ALICEA, III,                            No. 4:19-CV-00550

           Petitioner,                             (Chief Judge Brann)

     v.

COMMONWEALTH OF
PENNSYLVANIA, et al.,

          Defendant.

                                   ORDER

                               OCTOBER 5, 2021

    In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

    1.    The petition for writ of habeas corpus (Doc. 1) is DENIED WITH

          PREJUDICE.

    2.    A certificate of appealability will not issue.

    3.    The Clerk of Court is directed to close this case.

                                            BY THE COURT:


                                            s/ Matthew W. Brann
                                            Matthew W. Brann
                                            Chief United States District Judge
